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              EXHIBIT 4
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                                                                    Page 1

   1
   2                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                              ALEXANDRIA DIVISION
   4              _____________________
   5              UNITED STATES,        )1:23-cv-00108-LMB-JFA
                  et al.,               )
   6                                    )
                      Plaintiffs,       )
   7                                    )
                  vs.                   )
   8                                    )
                  GOOGLE LLC,           )
   9                                    )
                      Defendants.       )
 10               _____________________)
 11
 12
                               VIDEOTAPED DEPOSITION OF
 13
                                    KENDALL OLIPHANT
 14
                                      August 9, 2023
 15
                                         9:32 a.m.
 16
 17
 18
 19
 20
 21
                  Reported by: Bonnie L. Russo
 22               Job No. 6031956

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                                             HIGHLY CONFIDENTIAL
                                                       Page 2                                                            Page 4
       1   Videotaped Deposition of Kendall Oliphant        1         APPEARANCES (CONTINUED):
       2   held at:                                         2
       3                                                    3
       4                                                    4         Also Present:
       5                                                    5         Glen Fortner, Videographer
       6    Paul, Weiss, Rifkind, Wharton & Garrison, LLP 6           Michael A. Cannon, Chief Counsel for Economic
       7            2001 K Street, N.W.                     7         Affairs, United States Department of Commerce
       8             Washington, D.C.                       8
       9                                                    9         Also Present Via Remotely:
      10                                                   10         Julia Wood, DOJ
      11                                                   11         Jeannie S. Rhea, Paul, Weiss, Rifkind, Wharton
      12                                                   12         & Garrison, LLP
      13                                                   13
      14                                                   14
      15                                                   15
      16                                                   16
      17                                                   17
      18   Pursuant to Notice, when were present on behalf 18
      19   of the respective parties:                      19
      20                                                   20
      21                                                   21
      22                                                   22
                                                       Page 3                                                            Page 5
       1   APPEARANCES:                                          1            INDEX
       2                                                         2   EXAMINATION OF KENDALL OLIPHANT                    PAGE
       3   On behalf of the Plaintiffs:                          3   BY MS. GOODMAN                          12

       4    RACHEL ZWOLINSKI, ESQUIRE                            4

       5    VICTOR LIU, ESQUIRE                                  5

       6    ALVIN CHU, ESQUIRE                                   6
                                                                 7
       7    UNITED STATES DEPARTMENT OF JUSTICE
                                                                               EXHIBITS
       8    1331 Pennsylvania Avenue, N.W.
                                                                 8
       9    Washington, D.C. 20005
                                                                 9   Exhibit 13 E-Mail Chain dated 1-17-23        48
      10    rachel.zwolinski@usdoj.gov
                                                                10         CENSUS-ADS-0000244816-818
      11
                                                                11
      12   On behalf of the Defendant:
                                                                12   Exhibit 14 Integrated Communications         79
      13    MARTHA L. GOODMAN, ESQUIRE
                                                                13         Contract
      14    ANNELISE CORRIVEAU, ESQUIRE
                                                                14         Version 2
      15    PAUL, WEISS, RIFKIND, WHARTON &
                                                                15         10-5-18
      16    GARRISON, LLP                                       16         CENSUS-ADS-0000387420-490
      17    2001 K Street, N.W.                                 17
      18    Washington, D.C. 20006                              18   Exhibit 15 E-Mail dated 9-14-22         90
      19    mgoodman@paulweiss.com                              19         Attachment
      20    acorriveau@paulweiss.com                            20         CENSUS-ADS-0000248031-186
      21                                                        21
      22                                                        22

                                                                                                              2 (Pages 2 - 5)
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                                                  HIGHLY CONFIDENTIAL
                                                             Page 10                                                               Page 12
       1            PROCEEDINGS                                         1   Paul Weiss.
       2             (9:32 a.m.)                                        2          MS. WOOD: And Julia Wood from DOJ.
       3                                                                3   I will be in and out throughout the day.
       4          THE VIDEOGRAPHER: Good morning.                       4          THE VIDEOGRAPHER: Will the court
       5          We are going on the record at 9:32                    5   reporter please swear in the witness, and then
       6   on August 9, 2024 -- 2023.                                   6   counsel may proceed.
       7          Please note that the microphones are                  7
       8   sensitive and may pick up whispering and                     8              KENDALL OLIPHANT,
       9   private conversations. Please mute your phones               9   being first duly sworn, to tell the truth, the
      10   at this time. Audio and video recording will                10     whole truth and nothing but the truth,
      11   continue to take place unless all parties agree             11           testified as follows:
      12   to go off the record.                                       12     EXAMINATION BY COUNSEL FOR DEFENDANT
      13          This is Media Unit 1 of the                          13          BY MS. GOODMAN:
      14   video-recorded deposition of Kendall Oliphant               14     Q.    Good morning, Ms. Oliphant.
      15   in the matter of United States, et al. v.                   15     A.    Good morning.
      16   Google LLC. The location of the deposition is               16     Q.    Was your last name previously
      17   Paul Weiss.                                                 17   Johnson?
      18          My name is Glen Fortner representing                 18     A.    Yes, it was.
      19   Veritext, and I am the videographer. The court              19     Q.    Okay. So if we look at documents
      20   reporter is Bonnie Russo from the firm                      20   here today that refer to Kendall Johnson, that
      21   Veritext.                                                   21   is yourself, correct?
      22          I am not related to any party in                     22     A.    That is myself, yes.

                                                             Page 11                                                               Page 13
       1   this action, nor am I financially interested in              1       Q. Have you been deposed before?
       2   the outcome. If there are any objections to                  2       A. Once.
       3   proceeding, please state them at the time of                 3       Q. And was that in connection with your
       4   your appearance.                                             4    work at the census bureau?
       5         Counsel and all present, including                     5       A. No, it was not.
       6   remotely, will now state their appearances and               6       Q. Okay. When was that deposition?
       7   affiliations for the record beginning with the               7       A. Thinking. Maybe 2002, 2001, 2002.
       8   noticing attorney.                                           8       Q. So it's been 20-some odd years?
       9         MS. GOODMAN: Martha Goodman of Paul                    9       A. Yes.
      10   Weiss on behalf of the defendant, Google LLC,               10       Q. Okay. Just some basic rules of the
      11   and I am joined colleague Annelise Corriveau.               11    road.
      12         MS. ZWOLINSKI: Rachel Zwolinski on                    12           Your counsel may object. Unless
      13   behalf of the United States.                                13    they instruct you not to answer the question,
      14         MR. LIU: Victor Liu on behalf of                      14    you should permit your counsel to object and
      15   the United States.                                          15    then proceed to answer the question. Okay?
      16         MR. CHU: Alvin Chu on behalf of the                   16       A. Okay.
      17   United States.                                              17       Q. And to help Bonnie, our court
      18         MR. CANNON: Michael Cannon on                         18    reporter, please wait for me to finish my
      19   behalf of the United States.                                19    question, wait for your counsel to object, if
      20         MS. GOODMAN: And do we have any                       20    any, and then proceed with your answer so that
      21   remote attendees?                                           21    we're not talking over each other. Sound good?
      22         MS. RHEE: This is Jeannie Rhee from                   22       A. Sounds good.

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                                          HIGHLY CONFIDENTIAL
                                                    Page 58                                                  Page 60
       1     Q. Is that because you only have an               1   -- strike that.
       2   understanding based on privileged                   2           What is your best recollection of
       3   communications?                                     3   when, if at all, you spoke with lawyers from
       4     A. Yes.                                           4   the Department of Justice about the census
       5     Q. Okay. And with whom are those --               5   bureau's use of Google in the 2020 census?
       6   did those privileged communications take place?     6           MS. ZWOLINSKI: Objection. Form.
       7     A. Commerce lawyer, Mike Cannon.                  7           THE WITNESS: It would have had to
       8     Q. Any lawyers from the Department of             8   have been somewhere in the time frame of when
       9   Justice?                                            9   the -- when the suit was filed.
      10     A. No.                                           10           BY MS. GOODMAN:
      11     Q. Okay. Do you know what date this              11      Q. Do you recall any conversations
      12   lawsuit was filed?                                 12   prior to January of 2023?
      13     A. Honestly, no.                                 13           MS. ZWOLINSKI: Objection. Form.
      14     Q. It was filed on January 24, 2023.             14           THE WITNESS: I don't recall.
      15     A. Okay.                                         15           BY MS. GOODMAN:
      16     Q. I will state that for the record.             16      Q. I will represent to you that the
      17          So with that sort of time period in         17   United States Department of Justice has been
      18   mind, do you recall any conversations prior to     18   investigating Google's advertising practices
      19   January 24, 2023, with any lawyers for the         19   for the last three years. So over that --
      20   Department of Justice with respect to using        20   meaning the '21 -- 2021, 2022, 2023.
      21   Google in the census's digital advertising paid    21           In the years 2021 or 2022, do you
      22   media for the 2020 census?                         22   recall any conversation with any lawyer from
                                                    Page 59                                                  Page 61
       1           MS. ZWOLINSKI: Objection. Form.             1   the Department of Justice about census bureau's
       2           THE WITNESS: I don't recall.                2   use of Google for the 2020 census?
       3           BY MS. GOODMAN:                             3       A. No.
       4      Q. Is it typical in your day-to-day              4           MS. ZWOLINSKI: Objection. Form.
       5   work to speak with lawyers from the Department      5           BY MS. GOODMAN:
       6   of Justice?                                         6       Q. So as of January 17, 2023, that we
       7           MS. ZWOLINSKI: Objection. Form.             7   -- that you sent this e-mail to Mr. Benson, at
       8           THE WITNESS: I do not speak to              8   this time, did you anticipate participating in
       9   anybody from Justice that -- I don't -- no, it      9   litigation on behalf of the United States
      10   is not.                                            10   against Google?
      11           BY MS. GOODMAN:                            11           MS. ZWOLINSKI: Objection. Form.
      12      Q. And so if you did speak with lawyers         12           THE WITNESS: I did not.
      13   from the Department of Justice, is that            13           BY MS. GOODMAN:
      14   something you might remember because it is not     14       Q. At this time in January of 2023, did
      15   usual in the course of your work?                  15   you have any knowledge or awareness of any
      16           MS. ZWOLINSKI: Objection. Form.            16   investigation by the Department of Justice of
      17           THE WITNESS: I may remember                17   -- of Google with respect to its advertising
      18   speaking to them. I may not necessarily            18   businesses?
      19   remember timing.                                   19           MS. ZWOLINSKI: Objection. Form.
      20           BY MS. GOODMAN:                            20           THE WITNESS: Can you be more
      21      Q. Okay. And do you have any                    21   specific?
      22   recollection of a timing -- the timing during      22           BY MS. GOODMAN:

                                                                                              16 (Pages 58 - 61)
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                                            HIGHLY CONFIDENTIAL
                                                      Page 62                                                 Page 64
       1     Q.     Have you ever -- strike that.                1          THE WITNESS: No.
       2           To what extent, if any, were you              2          BY MS. GOODMAN:
       3   aware in January of 2023, that the Department         3      Q. So for the record, your testimony is
       4   of Justice Antitrust Division was investigating       4   that you never sought the legal advice of the
       5   Google?                                               5   antitrust division with respect to
       6           MS. ZWOLINSKI: Objection. Form.               6   anticompetitive on the part of --
       7           THE WITNESS: I guess when they                7   anticompetitive conduct on the part of Google;
       8   actually filed the suit.                              8   is that correct?
       9           BY MS. GOODMAN:                               9      A. That is correct.
      10      Q. And so prior to January 24, 2023,              10      Q. Have you received a litigation hold
      11   when the Department of Justice filed the             11   in this case?
      12   lawsuit, you were not aware of any                   12      A. Yes.
      13   investigation that the antitrust division was        13      Q. And approximately when did you
      14   doing of Google, correct?                            14   receive that hold?
      15           MS. ZWOLINSKI: Objection. Form.              15      A. For context. We have a lot going
      16           THE WITNESS: I honestly -- I don't           16   on. I can't honestly tell you when I first
      17   recall.                                              17   started hearing about it or when I first
      18           BY MS. GOODMAN:                              18   started -- when I got the litigation hold.
      19      Q. You don't recall any awareness of an           19          If I go through my e-mail, I can
      20   investigation; is that right?                        20   tell you, but off the top of my head, we have
      21           MS. ZWOLINSKI: Objection. Form.              21   way too many deadlines that we are trying to
      22           THE WITNESS: I didn't recall when            22   meet for this to be -- until it became a big
                                                      Page 63                                                 Page 65
       1   the lawsuit was filed, so the timing, I can't         1   thing, a real thing, for it -- it just -- it
       2   -- no. I don't recall. I don't -- I'm not             2   just seemed like it was information seeking, so
       3   aware.                                                3   I don't know.
       4          BY MS. GOODMAN:                                4          MS. ZWOLINSKI: Counsel, we've been
       5      Q. Prior to -- strike that.                        5   going over -- we've been going for over an
       6          In the course of your work as the              6   hour. Can we take a break.
       7   COR for Order 15, did you ever form a view that       7          MS. GOODMAN: Yeah, once I finish
       8   Google's -- Google was engaging in                    8   this line of questioning, I am happy to break.
       9   anticompetitive conduct?                              9          MS. ZWOLINSKI: How much time do you
      10          MS. ZWOLINSKI: Objection. Form.               10   anticipate that line of questioning taking?
      11          THE WITNESS: No, I did not.                   11          MS. GOODMAN: A few more minutes.
      12          BY MS. GOODMAN:                               12          MS. ZWOLINSKI: Okay.
      13      Q. And did you ever seek the legal                13          BY MS. GOODMAN:
      14   advice of the antitrust division with respect        14      Q. You -- in your prior answer, you
      15   to any anticompetitive conduct on the part of        15   said that it seemed like it was just
      16   Google?                                              16   information seeking.
      17          MS. ZWOLINSKI: Objection. Form and            17          What did you mean by that?
      18   privileged.                                          18          MS. ZWOLINSKI: Objection. Form.
      19          MS. GOODMAN: It's a yes or no                 19          THE WITNESS: We get asked questions
      20   question. It's not privileged. I am asking           20   all the time. It was just responding to a
      21   whether she sought legal advice.                     21   request.
      22          MS. ZWOLINSKI: Objection. Form.               22          BY MS. GOODMAN:

                                                                                                17 (Pages 62 - 65)
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                                            HIGHLY CONFIDENTIAL
                                                    Page 298                                                        Page 300
       1   document, do you have an understanding now of 1              Q. Okay. But just in terms of the
       2   what DV360 is?                                  2        course of your experience working on Order 15,
       3           MS. ZWOLINSKI: Objection. Form.         3        does any one particular advertising mechanism
       4           THE WITNESS: My understanding would 4            stand out to you as one that was particularly
       5   be it's used to serve ads.                      5        effective in helping the census bureau obtain
       6           BY MS. GOODMAN:                         6        its goals?
       7      Q. Okay.                                     7                MS. ZWOLINSKI: Objection. Form.
       8      A. Google uses it to serve ads.              8                THE WITNESS: They really all -- if
       9      Q. Okay. And so do you see in this           9        they didn't work together, because they all
      10   document then that the reach for the census -- 10        bring something different to the table to reach
      11   strike that.                                   11        audiences in a different way, and each audience
      12           What is your reaction to the news      12        receives or utilizes different media. It is --
      13   that Google is saying you have reached 214     13        it is hard to point to one particular vendor
      14   million unique users as of March 3, 2020?      14        and say, you know, they are responsible or they
      15           MS. ZWOLINSKI: Objection. Form.        15        had the greatest impact because while it may
      16           THE WITNESS: That's a good thing.      16        have an impact here, it may not have, overall,
      17           BY MS. GOODMAN:                        17        it may not have had as high of an impact.
      18      Q. I'm sorry?                               18                BY MS. GOODMAN:
      19      A. That's a good thing.                     19            Q. If you needed to figure out how much
      20      Q. And did Google help the census           20        money was paid to Google through funds
      21   bureau obtain its advertising goals?           21        allocated under the Order 15 contract, how
      22           MS. ZWOLINSKI: Objection. Form.        22        would you go about doing that?
                                                    Page 299                                                        Page 301
       1          THE WITNESS: The combination of               1          MS. ZWOLINSKI: Objection. Form.
       2   Google and all of our advertisers helped us          2          THE WITNESS: I would contact the
       3   obtain our goals.                                    3   buying agency. I would call Reingold.
       4          BY MS. GOODMAN:                               4          BY MS. GOODMAN:
       5      Q. Okay. And was there any one digital            5     Q.    Have you had to call Reingold in the
       6   tool in your toolkit from your point of view         6   course of this litigation to figure out how
       7   that particularly aided in the meeting of the        7   much money has been paid to Google?
       8   goals?                                               8          MS. ZWOLINSKI: Objection.
       9          MS. ZWOLINSKI: Objection. Form.               9          THE WITNESS: No.
      10          THE WITNESS: They all had a part in          10          BY MS. GOODMAN:
      11   helping us reach our goals.                         11     Q.    And to your knowledge, is there a
      12          BY MS. GOODMAN:                              12   way to figure out how much money was paid to
      13      Q. Did any one of them have a greater            13   Google for programmatic advertising?
      14   role than others?                                   14          MS. ZWOLINSKI: Objection. Form.
      15          MS. ZWOLINSKI: Objection. Form.              15          THE WITNESS: I don't have those
      16          THE WITNESS: Well, at this point in          16   means. Census doesn't have that. We would go
      17   time, it is clearly Google, but this is just a      17   directly to Reingold.
      18   snapshot in time so -- and this is before           18          BY MS. GOODMAN:
      19   pandemic, so no, I have no -- I can't speak to      19     Q.    So sitting here today, if you could
      20   any time later without a similar type of            20   only rely on the census bureau to figure out
      21   report.                                             21   how much money was paid to Google through funds
      22          BY MS. GOODMAN:                              22   allocated in Order 15, how would you do that?

                                                                                                 76 (Pages 298 - 301)
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                                                  HIGHLY CONFIDENTIAL
                                                             Page 334                                                Page 336
       1    provided you legal advice?                    1                        MS. GOODMAN: I have no further
       2           MS. ZWOLINSKI: Objection. Form. 2                         questions. I'll pass the witness.
       3           THE WITNESS: No.                       3                        MS. ZWOLINSKI: We have no
       4           BY MS. GOODMAN:                        4                  questions.
       5       Q. Okay. And is your answer the same 5                              MS. GOODMAN: Okay. Thank you so
       6    in January of 2023?                           6                  much for your time, Ms. Oliphant. I very much
       7           MS. ZWOLINSKI: Objection. Form. 7                         appreciate it.
       8           THE WITNESS: Yes.                      8                        THE WITNESS: You're welcome. Thank
       9           BY MS. GOODMAN:                        9                  you.
      10       Q. Okay. And in the course of your        10                        THE VIDEOGRAPHER: Off the record.
      11    participation in this lawsuit if you've had  11                        MS. GOODMAN: Yes.
      12    questions about your participation in this   12                        THE VIDEOGRAPHER: This marks the
      13    lawsuit, have you turned to the attorneys at 13                  end of the deposition of Kendall Oliphant. We
      14    the antitrust division with your questions? 14                   are going off the record at 18:24.
      15           MS. ZWOLINSKI: Objection. Form. 15                              (Whereupon, the proceeding was
      16           THE WITNESS: No.                      16                  concluded at 6:24 p.m.)
      17           BY MS. GOODMAN:                       17
      18       Q. To whom have you turned, if anyone? 18
      19       A. Commerce.                              19
      20       Q. And is that Mr. Cannon?                20
      21       A. That's Mr. Cannon, yes.                21
      22       Q. Do you consider the lawyers for the 22
                                                             Page 335                                                Page 337
       1   antitrust division to be lawyers for the census               1            CERTIFICATE OF NOTARY PUBLIC
       2   bureau?                                                       2         I, Bonnie L. Russo, the officer before
       3          MS. ZWOLINSKI: Objection. Form.                        3   whom the foregoing deposition was taken, do
       4   Foundation.                                                   4   hereby certify that the witness whose testimony
       5          THE WITNESS: I do not.                                 5   appears in the foregoing deposition was duly
       6          BY MS. GOODMAN:                                        6   sworn by me; that the testimony of said witness
       7     Q.    Why not?                                              7   was taken by me in shorthand and thereafter
       8          MS. ZWOLINSKI: Objection. Form.                        8   reduced to computerized transcription under my
       9   Foundation.                                                   9   direction; that said deposition is a true
      10          THE WITNESS: Since census has their                   10   record of the testimony given by said witness;
      11   own lawyers and we have commerce lawyers, and I              11   that I am neither counsel for, related to, nor
      12   believe the commerce lawyers would be more --                12   employed by any of the parties to the action in
      13   more sort of categorized in that way versus                  13   which this deposition was taken; and further,
      14   DOJ.                                                         14   that I am not a relative or employee of any
      15          BY MS. GOODMAN:                                       15   attorney or counsel employed by the parties
      16     Q.    Okay. And is your answer the same                    16   hereto, nor financially or otherwise interested
      17   with respect to your participation in this                   17   in the outcome of the action.
      18   lawsuit as a representative of the census                    18
      19   bureau?                                                      19          <%11937,Signature%>
      20          MS. ZWOLINSKI: Objection. Form.                       20          Notary Public in and for
      21   Foundation.                                                  21          the District of Columbia
      22          THE WITNESS: Yes.                                     22   My Commission expires: August 14, 2025

                                                                                                     85 (Pages 334 - 337)
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